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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                 SECTION N-4
                                                             JUDGE ENGELHARDT
                                                             MAG. JUDGE ROBY

                     THIS DOCUMENT IS RELATED TO ALL CASES

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                                      NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Defendant United States of America’s Motion To

Dismiss Plaintiffs’ Federal Tort Claims Act, 28 U.S.C. §§1346(b)(1), 2671-80 and Contract

Claims for Lack of Subject Matter Jurisdiction, will come on for hearing and argument before the

Honorable Kurt D. Engelhardt, Judge, United States District Court, Eastern District of Louisiana,

at the United States District Courthouse for the Eastern District of Louisiana, 500 Poydras Street,

Room C-351, New Orleans, Louisiana, on the 16th day of July 2008, at 9:30 a.m., or as soon

thereafter as counsel may be heard.

       DONE AND SIGNED this _____ day of ___________, 2008.



                                       _______________________________________
                                       HONORABLE KURT D. ENGELHARDT
                                       JUDGE, UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF LOUISIANA




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Dated: May 18, 2008.              Respectfully Submitted,

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                                  J. PATRICK GLYNN
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                                  //S// Henry T. Miller
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